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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                     NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case.


                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By: /s/

                                                    Brandon L. Van Grack
                                                    Special Assistant U.S. Attorney
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                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    555 4th Street NW
                                                    Washington, D.C. 20530




Dated: January 20, 2020
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                               CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on January 20, 2020.




                                                      ______/s/_______________
                                                      Jocelyn Ballantine
                                                      Assistant United States Attorney
                                                      555 4th Street NW
                                                      Washington, D.C. 20530

                                                      Attorney for the United States of America




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